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   CAPITAL CORPORATION, ALAN J.
 9 LANE and ANTONIO MARTINO
10 [Additional Counsel on Signature Page]
11                            UNITED STATES DISTRICT COURT
12                           SOUTHERN DISTRICT OF CALIFORNIA
13 STEVEN ROSA, Individually and on               Case No. 3:22-cv-01936-CAB-MSB
   Behalf of All Others Similarly Situated,
14                                                Hon. Cathy Ann Bencivengo
               Plaintiff,
15                                                JOINT MOTION TO
         v.                                       CONSOLIDATE CASES AND
16                                                ADDRESS SCHEDULING
   SILVERGATE CAPITAL
17 CORPORATION, ALAN J. LANE, and                 [Complaint Filed: December 7, 2022]
   ANTONIO MARTINO,
18                                                Trial Date:     None Set
               Defendants.
19
20 JACOB GUZ, Individually and on                 Case No. 3:22-cv-01968-AJB-BGS
   Behalf of All Others Similarly Situated,
21                                                Hon. Anthony J. Battaglia
               Plaintiff,
22                                                [Complaint Filed: December 13, 2022]
         v.
23                                                Trial Date:     None Set
   SILVERGATE CAPITAL
24 CORPORATION, ALAN J. LANE, and
   ANTONIO MARTINO,
25
               Defendants.
26
27
28

                                               -1-               Case No. 3:22-cv-1936-CAB-MSB
     SMRH:4869-9520-8773.4      JOINT MOTION TO CONSOLIDATE CASES AND ADDRESS SCHEDULING
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 1            Plaintiffs Steven Rosa (Case No. 3:22-cv-01936-CAB-MSB) and Jacob Guz
 2 (Case No. 3:22-cv-01968-AJB-BGS) and defendants Silvergate Capital Corporation,
 3 Alan J. Lane and Antonio Martino hereby jointly move to (1) consolidate the above-
 4 referenced cases under Case No. 3:22-cv-01936-CAB-MSB pursuant to Federal Rule
 5 of Civil Procedure 42(a), and (2) address scheduling in the above-captioned action.
 6            Consolidation. Rule 42(a) of the Federal Rules of Civil Procedure provides
 7 that “[i]f actions before the court involve a common question of law or fact, the court
 8 may: . . . (2) consolidate the actions . . . .” The above-captioned actions purport to
 9 be class actions asserting claims under Sections 10(b) and 20(a) of the Securities
10 Exchange Act of 1934, 15 U.S.C. §§ 78j(b), 78t(a), and Securities & Exchange Com-
11 mission Rule 10b-5, 17 C.F.R. § 240.10b-5. The actions involve common questions
12 of law and fact, including, inter alia: (1) whether, in connection with the purchase or
13 sale of Silvergate Capital Corporation securities between November 9, 2021 to
14 November 17, 2022, defendants made material misrepresentations or omitted material
15 facts necessary to render statements not misleading; (2) whether defendants made
16 such misrepresentations or omissions with scienter; (3) whether investors reasonably
17 relied upon such misrepresentations or omissions; and (4) whether such misrepresen-
18 tations or omissions caused investors monetary loss.
19            In light of the common questions of law and fact in these actions, the under-
20 signed parties met and conferred, and now jointly move pursuant to Federal Rule of
21 Civil Procedure 42(a)(2) for an order consolidating these actions for all purposes
22 under the “low numbered case,” Case No. 3:22-cv-01936-CAB-MSB, and that the
23 caption of the action be amended as follows:
24 IN RE:                                         Case No. 3:22-cv-01936-CAB-MSB
25 SILVERGATE CAPITAL                             Hon. Cathy Ann Bencivengo
   CORPORATION SECURITIES
26 LITIGATION,                                    [Complaint Filed: December 7, 2022]
27
28

                                               -2-               Case No. 3:22-cv-1936-CAB-MSB
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 1            Scheduling. This securities class action is governed by the Private Securities
 2 Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. § 78u-4, et seq. The PSLRA
 3 sets forth unique procedures regarding the appointment of a “lead plaintiff” and
 4 approval of lead plaintiff’s counsel at the outset of the case. The PSLRA provides, in
 5 pertinent part:
 6            (3)      Appointment of lead plaintiff
 7                     (A)   Early notice to class members
 8                           (i)    In general. Not later than 20 days after the date on
                                    which the complaint is filed, the plaintiff or plaintiffs
 9                                  shall cause to be published, in a widely circulated
                                    national business-oriented publication or wire ser-
10                                  vice, a notice advising members of the purported
                                    plaintiff class—
11
                                    (I)    of the pendency of the action, the claims
12                                         asserted therein, and the purported class per-
                                           iod; and
13
                                    (II)   that, not later than 60 days after the date on
14                                         which the notice is published, any member of
                                           the purported class may move the court to
15                                         serve as lead plaintiff of the purported class.
16                           ....
17                     (B)   Appointment of lead plaintiff
18                           (i)    In general. Not later than 90 days after the date on
                                    which a notice is published under subparagraph
19                                  (A)(i), the court shall consider any motion made by a
                                    purported class member in response to the notice,
20                                  including any motion by a class member who is not
                                    individually named as a plaintiff in the complaint or
21                                  complaints, and shall appoint as lead plaintiff the
                                    member or members of the purported plaintiff class
22                                  that the court determines to be most capable of ade-
                                    quately representing the interests of class members
23                                  (hereafter in this paragraph referred to as the “most
                                    adequate plaintiff”) in accordance with this subpara-
24                                  graph.
25                           ....
26                           (v)    Selection of lead counsel. The most adequate plain-
                                    tiff shall, subject to the approval of the court, select
27                                  and retain counsel to represent the class.
28                           ....

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 1 15 U.S.C. § 78u-4(a)(3); see generally In re Cavanaugh, 306 F.3d 726 (9th Cir. 2002)
 2 (describing the “somewhat unusual” three-step process for identifying the lead plain-
 3 tiff in a securities class action in the PSLRA).
 4            The PSLRA provides further that “all discovery and other proceedings shall be
 5 stayed during the pendency of any motion to dismiss, unless the court finds upon the
 6 motion of any party that particularized discovery is necessary to preserve evidence or
 7 to prevent undue prejudice to that party.” 15 U.S.C. § 78u-4(b)(3)(B).
 8            The Complaint in Rosa [Document No. 1] was filed on December 7, 2022.1
 9 That same day, plaintiff issued a notice pursuant to 15 U.S.C. § 78u-4(a)(3)(A)(i).
10 Thus, the deadline for lead plaintiff motions pursuant to 15 U.S.C. § 78u-
11 4(a)(3)(A)(i)(II) is February 6, 2023. After the Court appoints a lead plaintiff and
12 approves lead plaintiff’s counsel pursuant to 15 U.S.C. § 78u-4(a)(3)(B)(i) and (v), it
13 is expected that the newly appointed lead plaintiff may seek to file a consolidated
14 amended complaint and that defendants will file motion(s) to dismiss in response.
15            Consistent with the lead plaintiff procedures and the automatic stay set forth in
16 the PSLRA, and as is typical in securities class actions, the undersigned parties met
17 and conferred, and now jointly move for an order, as follows:
18            1.       No defendant shall be required to answer, move against or otherwise
19 respond to the original Complaint filed in either of the above-captioned actions,
20 except as set forth below.
21            2.       Within fourteen (14) days after the Court enters an order appointing a
22 lead plaintiff and approving lead plaintiff’s counsel in the consolidated action, counsel
23 for the lead plaintiff and counsel for the defendants shall meet and confer regarding
24 (1) the time for lead plaintiff to file a consolidated amended complaint or provide
25 notice of lead plaintiff’s intent to rely upon the original Complaint in Rosa [Document
26
27   1
         Defendants have waived service of process of the summonses and complaints in
28       both actions.

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 1 No. 1] (the “operative complaint”); (2) the time for defendants to respond to the
 2 operative complaint; and (3) the schedule for briefing any motion to dismiss that may
 3 be filed by a defendant.
 4            A proposed order will be lodged in accordance with the local rules.
 5
 6 Dated: December 20, 2022           SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 7
 8                                    By:                 /s/ John P. Stigi III
                                                JOHN P. STIGI III, Cal. Bar No. 208342
 9                                                Email: jstigi@sheppardmullin.com
                                                      Attorneys for Defendants
10                                            SILVERGATE CAPITAL CORPORATION,
                                              ALAN J. LANE and ANTONIO MARTINO
11
12 Dated: December 20, 2022           GLANCY PRONGAY & MURRAY LLP

13
                                      By:                /s/ Pavithra Rajesh
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20                                                            STEVEN ROSA

21 Dated: December 20, 2022           POMERANTZ LLP
22
23                                    By:                  /s/ Jennifer Pafiti
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                                                       Telephone: 310.405.7190
26                                                          Attorney for Plaintiff
                                                               JACOB GUZ
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 1                              SIGNATURE CERTIFICATION
 2            Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
 3 Policies and Procedures Manual, I hereby certify that the content of this document is
 4 acceptable to Pavithra Rajesh, counsel for plaintiff Steven Rosa, and Jennifer Pafiti,
 5 counsel for plaintiff Jacob Guz, and that I have obtained their authorization to affix
 6 their electronic signatures to this document.
 7
 8                                                        /s/ John P. Stigi III
     Dated: December 20, 2022 By:
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